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 8                             UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
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11 KAHEAL PARRISH,                                       Case No. 11-cv-01438 LHK (NC)
12                     Plaintiff,                        ORDER ON DISCOVERY
                                                         DISPUTES
13            v.
                                                         Dkt. Nos. 177, 178, 179
14 A. SOLIS, and others,
15                     Defendants.
16
17          The Court addresses Joint Discovery Statement No. 6 and the dueling discovery
18 plans submitted by the parties. Dkt. Nos. 177, 178, and 179. As the parties acknowledge,
19 the close of fact discovery is August 1, 2014, and a busy July is scheduled in this case.
20 Given this tight schedule, the Court is disappointed that the parties were unable to agree on
21 a common discovery plan and seem to have increased, rather than decreased, the number of
22 discovery disputes.
23          Some initial comments.
24          Plaintiff urges that it is “extremely important that the Court resolve these issues as
25 quickly as possible.” Dkt. No. 179 at 15. Despite this encouragement, plaintiff has
26 effectively submitted 22 pages of motions to compel against parties and non-parties alike.
27 From the Court’s “quick” read, it appears that plaintiff is asking the Court to reconsider and
28 clarify its May 31 order, and also raising numerous new discovery concerns. Lost on the
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 1 Court is what plaintiff has done to prioritize the information needed and to make reasonable
 2 compromises in order to meet the Court’s deadlines.
 3          As to the CDCR, it appears that they have unilaterally granted themselves an
 4 extension of time in abiding by the Court’s May 31 order, rather than asking for more time
 5 or objecting to the Court’s order. There are consequences to flouting Court orders, and the
 6 Court invites a motion for sanctions if the previously ordered discovery is not complete by
 7 July 9 at 2:00 p.m.
 8          The Court now addresses particular issues presented by the parties.
 9          1. Production of documents by CDCR and R.C. Machuca in response to January
10 2014 subpoena. Dkt. No. 177. All responsive documents, as previously defined by the
11 Court in the May 31 order, must be produced by July 9 at 2:00 p.m.
12          2. Disciplinary records on privilege log 1.0. Dkt. No. 177 at 3. It is not obvious to
13 the Court that CDCR is misreading the Court’s May 31 order. But CDCR’s response does
14 not detail which documents it has or will produce. The Court will hear more about this at
15 the next discovery conference.
16          3. Plaintiff’s interrogatory responses. Dkt. No. 178 at 6. The objection that
17 “discovery is premature” is not made well here, where discovery is closing in less than a
18 month. Plaintiff must disclose facts that support his claims and injuries. Plaintiff must
19 therefore amend his responses by July 21.
20          4. Plaintiff’s document responses. Dkt. No. 178 at 7. Defendants complain that
21 they don’t know which of the documents produced by plaintiff are responsive to which
22 requests. But we are talking about three thousand pages, not three million. Under the
23 circumstances, and given that the plaintiff is in custody, no further description is required.
24          5. Plaintiff’s response to requests for admission nos. 36, 37, 39, 40, 42, and 44. Dkt.
25 No. 178 at 7. Plaintiff must respond to these requests by July 21.
26          6. Preservation of Officer Haldeman’s Dec. 5, 2012 rules violation draft report. By
27 July 16, defendants must serve on plaintiff a declaration under penalty of perjury by Salinas
28 Valley’s Information System Analyst (and/or other persons with personal knowledge)
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 1 detailingg all steps taaken, whenn, by whom,, to preservve all of Offficer Haldem
                                                                                   man’s user files on
 2 a compuuter in SVSP’s receivinng and releaase unit, inccluding the Dec. 5, 2012 report.
 3           7.                              hs taken byy Haldemann. Dkt. No. 179 at 9. P
             7 Metadataa on certain photograph                                          Parties
 4 are to meet
          m and con
                  nfer and rep
                             port at the next
                                         n discoveery conferennce.
 5           8.
             8 Court staandby for up
                                   pcoming deepositions. Dkt. No. 1779 at 15-166. Plaintiff
 6 suggestss that the Coourt create a proceduree for telephhonic rulingg on deposittion objectioons.
 7 Given thhe Court’s schedule,
                      s         th
                                 he parties sh
                                             hould not annticipate livve rulings bby phone.
 8           9.
             9 “Discoveery Dispute with the OIG.” Dkt. N
                                                       No. 179 at 16-18. Thiis request foor
 9 reconsidderation is denied
                       d      for laack of good
                                              d cause.
100          An                     o this nondispositive orrder within 14 days. F
              ny party maay object to                                            Fed. R. Civ.. P.
111 72(a).
122          IT
              T IS SO OR
                       RDERED.
133          Date: July 3, 2014                           ____
                                                            _________________________
                                                          Nathhanael M. CCousins
144                                                       Unitted States M
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